         Case 1:15-cv-02135-TSC Document 79 Filed 06/01/18 Page 1 of 1



                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

 
ERLIN EVER MENCIAS AVILA,
 
                   Plaintiff,
 
v.                                                          Civil No. 1:15-cv-02135-TSC
 
MATTHEW DAILEY,
 
                   Defendant.


                                           ORDER

       For the reasons set forth during the May 31, 2018 Pretrial Conference, the court hereby

GRANTS Plaintiff Erlin Ever Mencias Avila’s Motion for Clarification or, in the Alternative, for

Reconsideration (ECF No. 60). Even if the jury finds that Defendant Matthew Dailey received

specific direction from a prosecutor in the United States Attorney’s Office to continue the

seizure following the search of the van, Defendant will not necessarily be entitled to qualified

immunity. At that time, the court will determine whether Defendant is entitled to qualified

immunity, applying the relevant legal standard.


Dated: June 1, 2018


                                             Tanya S. Chutkan
                                             TANYA S. CHUTKAN
                                             United States District Judge        
